              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


MAXWELL KADEL, et al.,

                        Plaintiffs,

                        v.               No. 1:19-cv-00272-LCB-LPA

DALE FOLWELL, et al.,

                        Defendants.



 MEMORANDUM IN OPPOSITION TO DEFENDANT NORTH CAROLINA,
   DEPARTMENT OF PUBLIC SAFETY’S MOTION FOR SUMMARY
                      JUDGMENT




   Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 1 of 24
                                           TABLE OF CONTENTS

I.      Introduction......................................................................................................1

II.     Facts .................................................................................................................1

III.    Argument .........................................................................................................4

        A.        DPS incorrectly argues that no one is liable under Title VII
                  for its discrimination against Sgt. Caraway because the State
                  has created a separate agency to administer the Plan............................4

        B.        Sgt. Caraway has standing to sue DPS..................................................8

                  i.        Causation .....................................................................................8

                  ii.       Redressability ............................................................................14

        C.        DPS’s merits argument is unavailing because DPS caused
                  Sgt. Caraway’s injury. .........................................................................17

IV.     Conclusion .....................................................................................................18




       Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 2 of 24
I.     Introduction

       Defendant State of North Carolina, Department of Public Safety (“DPS”) seeks

summary judgment on three grounds. First, it argues that it is legal for the State to provide

Plaintiff Sgt. Dana Caraway with discriminatory health coverage because even though DPS

is her employer, it is purportedly not responsible for the terms of her health coverage (the

“Plan”); and although the North Carolina State Health Plan for Teachers and State

Employees (“NCSHP”) is purportedly responsible for the Plan, it is not her employer. This

argument is as contrary to Title VII as it sounds. Second, DPS argues that, because it does

not set the Plan’s terms, and is required under state law to provide the Plan to her, Sgt.

Caraway does not have standing to sue it. But this ignores the fact that DPS offers and

provides the Plan, and that in doing so it takes numerous actions that cause Sgt. Caraway

injury, which this Court can redress—and also, that it is legally irrelevant whether state

law obliges DPS to discriminate. Third, DPS repackages its standing argument as a merits

argument, but this fails for the same reason as its standing argument. Sgt. Caraway

respectfully requests that the Court deny DPS’s motion and instead grant summary

judgment to Sgt. Caraway. See Pls.’ Mot. Summ. J., ECF No. 178.

II.    Facts

       DPS is an employer within the meaning of Title VII. DPS’s Answer Am. Compl. ¶

18, ECF No. 96; NCSHP’s Answer Am. Compl. ¶ 18, ECF No. 85; Joint Mot. for Entry of




                                             1


      Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 3 of 24
Stipulation, ECF No. 104-1; Order Granting Stipulation, ECF No. 105; Ex.1 7 Admis. 1.

Part of the compensation DPS provides its employees is the Plan. ECF No. 96 ¶ 18; Ex. 4

Admis. 6; Ex. 12, 88:10-89:25. Sgt. Caraway is a longstanding employee of DPS, which

requires her to have health coverage, and so she has been a Plan member since her hiring.

Caraway Decl. ¶¶ 2, 16, ECF No. 179-9.

       NCSHP is self-funded and determines what health plans “are available to state

employees through their employment.” ECF No. 96 ¶ 179; Ex. 14, 13:3-14:6. DPS

provides its employees access to the Plan in several ways. Ex. 12, 88:10-89:25. Designated

DPS employees are health benefit representatives who facilitate their colleagues’

enrollment in NCSHP coverage upon hiring and during annual open enrollment, and serve

as “first line of contact” for questions about their coverage. Ex. 14, 24:11-13, 16:23-17:11;

Ex. 12, 90:6-8. DPS staff verify newly hired employees’ eligibility to enroll in NCSHP.

Ex. 12, 88:22-90:5. They enter information that allows the State Controller to deduct the

employees’ premiums. Ex. 12, 90:19-24. When a DPS employee requests a change to

health insurance because of a qualifying life event, DPS staff review relevant documents

and decide whether to approve the requested change. Ex. 14, 14:18-16:22. DPS can

request an exception from NCSHP to allow an employee to reenroll after losing coverage

for non-payment. Ex. 6 Interrog. 3(b); Ex. 14, 28:3-29:12. DPS contributes $521.96 per

employee per month to fund the Plan. Ex. 7 Admis. 2; Ex. 14, 10:16-11:18.



1
  All references to “Ex.” refer to exhibits attached to the Declaration of Amy Richardson
filed at ECF No. 180.

                                             2


     Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 4 of 24
       The Plan categorically excludes coverage of “[p]sychological assessment and

psychotherapy treatment in conjunction with proposed gender transformation” and

“[t]reatment or studies leading to or in connection with sex changes or modifications and

related care” (the “Exclusion”). Exs. 8-9.2 The Exclusion bars coverage of gender-

confirming care to alleviate gender dysphoria, which necessarily affects transgender

people, as gender dysphoria, by definition, is the clinically significant distress or problems

with functioning that may be associated with being transgender. Ex. 24(a), ¶¶ 17-18; Ex.

26, ¶¶ 18, 26. See also Toomey v. Arizona, No. 19-cv-00035, 2019 WL 7172144, at *6 (D.

Ariz. Dec. 23, 2019) (“[T]ransgender individuals are the only people who would ever seek

gender reassignment surgery. No cisgender person would seek, or medically require,

gender reassignment. Therefore, as a practical matter, the exclusion singles out transgender

individuals for different treatment.”). Moreover, because the Exclusion only applies to

gender-confirming care, cisgender members receive coverage for medically-necessary

care—such as hormone therapy, Ex. 2 Admis. 1, Ex. 5 Admis. 2; puberty-delaying

hormone treatment, Ex. 5 Admis. 2; mammoplasty and breast reconstruction, Ex. 2 Admis.

2, Ex. 5 Admis. 3; vaginoplasty, Ex. 2 Admis. 3; and hysterectomy, Ex. 2 Admis. 4—that

their transgender peers, because of their sex, are denied.



2
  NCSHP’s Rule 30(b)(6) designee testified, however, that NCSHP does not enforce the
first exclusion related to psychotherapy, Ex. 12, 49:8-23, and Defendants’ motion clarifies
that the former exclusion has not been enforced for decades and will be removed from the
2022 benefits booklets. Mem. Supp. NCSHP’s Mot. Partial Summ. J. at 8 n.2, ECF No.
137. Accordingly, it is the Exclusion for “[t]reatment or studies leading to or in connection
with sex changes or modifications and related care” that is at issue.

                                              3


     Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 5 of 24
        DPS requires Sgt. Caraway to maintain health coverage. ECF No. 179-9 ¶ 16. She

contributes the same $50 per month premium as other NCSHP members, which is deducted

from her DPS paycheck. ECF No. 179-9 ¶ 17; Ex. 7; Suppl. Decl. of Amy Richardson Ex.

A, 109:3-11, 109:18-25.3 Sgt. Caraway is also a transgender woman who requires gender-

affirming care to alleviate gender dysphoria. ECF No. 179-9 ¶¶ 8, 19-23, 28. However,

the Plan has refused to cover her care because of the Exclusion. ECF No. 179-9 ¶¶ 24, 28;

Ex. 22, 64:6-10. Defendants’ discriminatory denial of coverage forced Sgt. Caraway to

pay out of pocket for some treatments and forgo others, at significant detriment to her

health and financial cost to her. ECF No. 179-9 ¶¶ 24-33.

III.    Argument

        A.    DPS incorrectly argues that no one is liable under Title VII for its
              discrimination against Sgt. Caraway because the State has created a
              separate agency to administer the Plan.

        DPS argues it cannot be liable for the discriminatory Exclusion in the Plan because,

while it is Sgt. Caraway’s employer, it’s not responsible for the Plan, Mem. in Supp. of

DPS’s Mot. Summ. J. 21-22, ECF No. 133—and in fact Sgt. Caraway does not even have

standing to complain. Id. at 8-22. The remaining Defendants (“Plan Defendants”) argue

that, while they are responsible for the Plan, they cannot be held liable either, because they

are not Sgt. Caraway’s employer. ECF No. 137 at 20-28.




3
  All references to “Suppl. Decl. of Amy Richardson, Ex. A” refer to the exhibit attached
to the Supplemental Declaration of Amy Richardson filed today in connection with the
present brief.

                                              4


       Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 6 of 24
       This is incorrect. DPS cannot discriminate against its employees on the basis of

sex, in violation of federal law, merely because the State has created a separate agency to

administer employee health coverage. See Boyden v. Conlin, 17-CV-264-WMC, 2018 WL

2191733, at *2 (W.D. Wis. May 11, 2018) (“[D]efendants are trying to perform a sort of

‘magic trick.’ By arguing that only [Wisconsin’s Group Insurance Board] is responsible

for health insurance, but that neither GIB nor [Wisconsin’s Department of Employee Trust

Funds] is an employer, defendants are essentially arguing that the State of Wisconsin is

entirely immunized from Title VII claims.”); Lange v. Houston Cty., 499 F. Supp. 3d 1258,

1272 (M.D. Ga. 2020) (“The Sheriff’s Office argues that the Title VII claims should be

dismissed because it has no control over setting the terms of the Plan; the County argues

that the . . . Title VII claims should be dismissed because [a Sheriff’s Deputy] is not a

County employee. . . . The Court rejects both arguments.”), recons. denied, 5:19-CV-392

(MTT), 2020 WL 7634054 (M.D. Ga. Dec. 22, 2020). Sex discrimination in the provision

of benefits is illegal, 42 U.S.C. § 2000e-2(a)(1),4 and “[s]ince employers are ultimately

responsible for the ‘compensation, terms, conditions, [and] privileges of employment’

provided to employees, an employer that adopts a fringe-benefit scheme that discriminates

among its employees on the basis of . . . sex . . . violates Title VII regardless of whether

third parties are also involved in the discrimination.” Ariz. Governing Comm. for Tax

Deferred Annuity & Deferred Comp. Plans v. Norris, 463 U.S. 1073, 1089, 1090-91 (1983)


4
 See also Newport News Shipbuilding & Dry Dock Co. v. EEOC, 462 U.S. 669, 682 (1983)
(“Health insurance and other fringe benefits are ‘compensation, terms, conditions, or
privileges of employment’ [under Title VII]”).

                                             5


     Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 7 of 24
(“It would be inconsistent with the broad remedial purposes of Title VII to hold that an

employer who adopts a discriminatory fringe benefit plan can avoid liability on the ground

that he could not find a third party willing to treat his employees on a nondiscriminatory

basis.”); Los Angeles, Dep’t of Water & Power v. Manhart, 435 U.S. 702, 718 n.33 (1978)

(“[A]n employer can[not] avoid his responsibilities by delegating discriminatory programs

to corporate shells.”); Butler v. Drive Auto. Indus. of Am., Inc., 793 F.3d 404, 415 (4th Cir.

2015) (Title VII does not allow “an employer who exercises actual control [to] avoid Title

VII liability by hiding behind another entity.”).

       Here, DPS and NCSHP are both liable under Title VII as Sgt. Caraway’s

“employer.” By offering benefits with a discriminatory term set by its third-party

administrator (NCSHP), and by participating in the provision of those benefits, DPS is

liable under Title VII as the principal in a principal-agent relationship with NCSHP. “It

is well established that traditional vicarious liability rules ordinarily make principals or

employers vicariously liable for acts of their agents or employees in the scope of their

authority or employment.” Meyer v. Holley, 537 U.S. 280, 285 (2003) (reviewing cases);

see also, e.g., Norris at 463 U.S. at 1087-90 (state agency liable for discriminatory acts of

its benefits administrator); Manhart, 435 U.S. at 718 n.33 (city agency liable for

discriminatory acts of its benefits administrator); Lange, 499 F. Supp. 3d at 1271 (at

motion to dismiss stage, sheriff’s department may be liable for discriminatory acts of

county benefits administrator); see also generally Crowder v. Fieldcrest Mills, Inc., 569

F. Supp. 825, 828 (M.D.N.C. 1983) (“If [third party benefit administrators] were not



                                              6


     Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 8 of 24
‘employers,’ then the purposes of Title VII . . . could be frustrated by employers

delegating to such parties authority over terms and conditions of employment.”).

       DPS and NCSHP are also jointly and severally liable as “joint employers” of Sgt.

Caraway, see Butler, 793 F.3d at 409-10 (adopting joint employer doctrine under Title

VII to ensure “remedial purpose of Title VII” and “prevent[] those who effectively

employ a worker from evading liability by hiding behind another entity”) (citing inter

alia Schultz v. Cap. Int’l Sec., Inc., 466 F.3d 298, 310 (4th Cir. 2006) (other citations

omitted)); Schultz, 466 F.3d at 301, 310 (joint and several liability applies to joint

employers). Under the joint employer doctrine, where two or more entities “share or co-

determine . . . the essential terms and conditions of employment,” both are employers,

and one does not cease to be an employer merely because the other exercises control over

some aspect of the employment relationship. Butler, 793 F.3d at 408-10, 414 (the

purpose of joint employer analysis is to “capture[] the reality of modern employment in

which ‘control’ of an employee may be shared by two or more entities”). The principal

guidepost, however, remains the common law element of control: “Otherwise, an

employer who exercises actual control could avoid Title VII liability by hiding behind

another entity.” Id. at 415. Here, even assuming arguendo DPS is correct that NCSHP

alone has “control” over the Plan, DPS nevertheless remains jointly and severally liable

for NCSHP’s acts as Sgt. Caraway’s employer under the rule of Butler.




                                              7


     Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 9 of 24
       B.      Sgt. Caraway has standing to sue DPS.

       To have Article III standing a plaintiff must prove she suffered 1) an injury in fact

2) causally connected to the defendant, 3) that is likely to be redressed by a favorable

decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). At the summary

judgment stage, the plaintiff establishes standing by “set[ting] forth by affidavit or other

evidence specific facts which for purposes of the summary judgment motion will be taken

to be true.” Id. at 561 (internal quotations omitted) (quoting Fed. R. Civ. Pro. 56(e)). When

a plaintiff is the object of a government action she challenges, “there is ordinarily little

question that the action or inaction has caused [her] injury, and that a judgment preventing

or requiring the action will redress it.” Id. at 561–62.

              i.      Causation

       DPS does not dispute whether Sgt. Caraway suffered an injury. ECF No. 133 at 11-

12. Instead, DPS argues that because the Plan Defendants dictate the terms of the Plan,

DPS cannot have caused that injury. Id. This position misstates the causal relationship

required to establish standing. Sgt. Caraway’s injuries are fairly traceable to DPS.

       As this Court has already ruled, Article III’s standing causation requirement is not

“equivalent to a requirement of tort causation.” Order Den. Mot. to Dismiss 7, ECF No.

45 (quoting Hutton v. Nat’l Bd. of Exam’rs in Optometry, Inc., 892 F.3d 613, 623 (4th Cir.

2018)).     It demands only that that the plaintiff’s injury be “fairly traceable to the

defendant’s conduct,” which “merely requires a causal connection between the defendant’s

conduct and the plaintiff’s injury, such that ‘there is a genuine nexus’ between the two.”



                                              8


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 10 of 24
ECF No. 45 at 8 (quoting Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S.

118, 134 n.6 (2014) and Friends of the Earth, Inc. v. Gaston Copper Recycling Corp., 204

F.3d 149, 161 (4th Cir. 2000)).

       It is unremarkable for a plaintiff to have standing to sue for an injury caused both

by the defendant and a third party. Libertarian Party of Va. v. Judd, 718 F.3d 308, 316

(4th Cir. 2013) (concluding plaintiff had standing because the defendant was “at least in

part responsible” for his injuries, “notwithstanding the presence of another proximate

cause” indisputably beyond all defendants’ control); see also Lac Du Flambeau Band of

Lake Superior Chippewa Indians v. Norton, 422 F.3d 490, 500-01 (7th Cir. 2005) (“[A]

plaintiff does not lack standing merely because the defendant is one of several persons who

caused the harm.” (citing Warth v. Seldin, 422 U.S. 490, 504-05 (1975) and Lujan, 504

U.S. at 562)).

       In a challenge to a law or policy created by one arm of a state government and

effectuated by another, the causation requirement can be met by showing the defendant

implemented the challenged policy. See, e.g., Nelson v. Warner, 12 F.4th 376, 385 (4th

Cir. 2021) (a plaintiff’s injury was traceable to the representative of the state’s ballot

commissioner who prepared ballots “in accordance with the state’s ballot-order statute”);

Baten v. McMaster, 967 F.3d 345, 353 (4th Cir. 2020), as amended (July 27, 2020) (injury

from winner-take-all electoral system enacted by legislature was fairly traceable to state

election officials who “implemented and enforced” it); Bostic v. Schaefer, 760 F.3d 352,

372 (4th Cir. 2014) (plaintiffs’ injury from Virginia statute prohibiting same-sex couples



                                            9


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 11 of 24
from getting married was fairly traceable to the actions of the court clerk who issued and

filed marriage licenses and to the registrar who created the license application form in

accordance with state law, and affirming summary judgment). This is so even when a

defendant’s role in causing the harm consists of ministerial actions he is obliged to take by

statute. Strickland v. Alexander, 772 F.3d 876, 886 (11th Cir. 2014) (plaintiff’s injury was

fairly traceable to county clerk following who executed obligatory “ministerial duties”

related to garnishment of plaintiff’s funds); see also, e.g., Nelson, 12 F.4th at 385; Bostic,

760 F.3d at 370-72.

       DPS nevertheless disclaims causing Sgt. Caraway’s injuries because it argues only

NCSHP has authority to set the Plan’s terms. ECF No. 133 at 12-13. DPS’s position

misconstrues the standard for tracing causation. DPS offers the Plan to Sgt. Caraway as

part of her compensation and (along with NCSHP) provides it to her. This creates a

genuine nexus between DPS’s conduct and Sgt. Caraway’s injury.

       This Court, at the motion to dismiss stage, held that an adequate nexus for standing

was established by allegations that the “employing unit,” there the University Defendants,

“‘offer[ed]’ . . . the Plan to Plaintiffs and ‘participate[d]’ . . . in its availability.” ECF No.

45 at 8. The Court further opined that additional indicia of those Defendants’ involvement

in the Plan also supported causation, including that they funded the plan through direct

contributions, and “play[ed] an active role in collecting erroneous payments” and in

“settling claims.” ECF No. 45 at 9. It is now established on an undisputed record that




                                               10


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 12 of 24
DPS, Sgt. Caraway’s employing unit, was even more involved than that in offering the

Plan to its employees and participating in making it available to them.

       First, DPS offers the Plan to its employees.         It is part of Sgt. Caraway’s

compensation. Ex. 4 Admis. 6; Suppl. Decl. of Amy Richardson Ex. A, 109:3-11,18-25;

Ex. 7. She is eligible for it by virtue of her employment with DPS. Ex. 12, 88:10-89:25.

DPS requires Sgt. Caraway to have health insurance, and she has therefore been a member

of the Plan throughout her tenure with DPS. ECF No. 179-9 ¶ 16.

       Second, DPS participates in making the Plan available to its employees. DPS staff

serve as health benefit representatives, who enroll their colleagues in the Plan and are the

“first line of contact” for questions about insurance. Ex. 12, 90:1-18; Ex. 14, 16:23-17:11,

24:7-23. DPS staff verify newly hired employees’ eligibility to enroll. Ex. 12, 89:9-90:18;

Ex 14, 22:1-13. When a DPS employee requests a change to health insurance because of

a qualifying life event, DPS staff review relevant documents and decide whether to approve

the requested change. Ex. 14, 14:18-16:22. DPS can request an exception from NCSHP

to allow an employee whose coverage lapsed for non-payment to reenroll. Ex. 6 Interrog.

3(b); Ex. 14, 28:3-29:12. DPS staff enter information that allows the State Controller to

deduct the employees’ premiums. Ex. 12, 90:19-24. Sgt. Caraway contributes $50 per

month to the plan through a deduction from her DPS paycheck. ECF No. 179-9 ¶ 17. DPS

also contributes $521.96 per employee per month to fund the Plan. Ex. 7 Admis. 2; Ex.

14, 11:3-18.




                                            11


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 13 of 24
       Through its actions offering the Plan and participating in its availability, DPS has

more than sufficient nexus with Sgt. Caraway’s injury to establish a causal connection. See

ECF No. 45 at 8-9; see also Bostic, 760 F.3d at 372 (holding injury to couple denied a

marriage license was traceable to the registrar of vital records by virtue of her role in

creating the marriage license application form).

       DPS makes two arguments to the contrary: It has no “independent authority or

control over the benefits NCSHP offers,” ECF No. 133 at 6, 12-14, 18-19, and it is required

by law to offer the Plan and no other insurance. ECF No. 133 at 7, 14-17. Both are

unavailing.

       First, as discussed above, because DPS offers the plan and participates in making it

available to Sgt. Caraway, her injury is fairly traceable to DPS. Article III imposes no

additional requirement of “authority” or “control.”        DPS’s characterization of its

involvement as “ministerial,” ECF No. 133 at 18, is likewise irrelevant. DPS cites no

authority in its bid for a “ministerial” exception to standing. It is well-settled that, for

standing purposes, a defendant’s ministerial role in implementing a policy established or

controlled by others suffices to establish causation. See, e.g., Nelson, 12 F.4th at 385;

Bostic, 760 F.3d at 372; Strickland, 772 F.3d at 886 (“[Defendant] identifies no support for

the notion that an injury cannot be deemed ‘fairly traceable’ to ministerial conduct. We

decline to reach such a conclusion.”).

       Second, whether DPS is obliged by state law to provide a health plan that violates

federal law is irrelevant. “Th[e] Constitution, and the Laws of the United States which



                                            12


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 14 of 24
shall be made in Pursuance thereof . . . shall be the supreme Law of the Land.” U.S. Const.

art. VI (emphasis added). “[S]tate laws are preempted [under Art. VI] when they conflict

with federal law. This includes cases where compliance with both federal and state

regulations is a physical impossibility, and those instances where the challenged state law

stands as an obstacle to the accomplishment and execution of the full purposes and

objectives of Congress.” Arizona v. United States, 567 U.S. 387, 399 (2012) (internal

citations and quotation marks omitted). A state law that mandates discrimination in

violation of federal law, therefore, simply must not be followed. See, e.g., Green v. Sch.

Bd. of New Kent Cty., 391 U.S. 430, 432-35 (1968) (after Brown v. Board, 347 U.S. 483

(1954), school boards could not lawfully comply with state laws mandating racial

segregation in public schools).5

       DPS’s reliance on Boyden is misplaced because the facts of that case are different.

See App. to Mem. in Supp. of DPS’s Mot. Summ. J. at Ex. 7, ECF No. 134-8. There, the



5
   Because DPS’s argument that state law precludes them from providing non-
discriminatory coverage other than or in addition to the Plan is irrelevant, Plaintiffs do not
rely on any opinions of Dr. Jamison Green, nor do they intend to call him as a witness at
trial. Plaintiffs have previously advised DPS that they do not intend to rely on his report.
For the same reason, the assertions of DPS’s expert Wayne Goodwin in support of that
argument are also irrelevant and fail to create any disputes of material fact. Sgt. Caraway’s
Title VII claims do not depend on contesting any of the opinions offered by Mr. Goodwin,
but instead rely on the undisputed facts discussed above. In any case, most of Mr.
Goodwin’s opinions are legal in nature and therefore inadmissible. See United States v.
McIver, 470 F.3d 550, 562 (4th Cir. 2006) (“[O]pinion testimony that states a legal standard
or draws a legal conclusion by applying law to the facts is generally inadmissible.”);
Allstate Ins. Co. v. Rochkind, 381 F. Supp. 3d 488, 510 (D. Md. 2019) (“[T]estimony that
states a legal conclusion is not admissible.”).


                                             13


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 15 of 24
court dismissed certain defendants who were alleged to have “no role in selecting, offering,

or providing” the plan in question. Boyden, 2018 WL 2191733, at *4 (plaintiffs did not

“allege any acts or omissions by the Employer Defendants” that caused their injury;

“Employer Defendants did nothing more than hire the plaintiffs, making them eligible for

group health insurance”). Here, as detailed above, it is undisputed that DPS offers the Plan

to Sgt. Caraway and participates, along with NCHSP, in making it available to her and

administering its implementation. Moreover, Boyden rejected the very same “magic trick”

to make responsibility for discrimination vanish that Defendants are collectively trying to

perform here. See supra at 5.

            ii.      Redressability

       As a corollary of arguing it is required by state law to offer the Plan and unable to

offer her anything else, DPS takes the position that Sgt. Caraway lacks standing because it

cannot do anything to remedy her injury. ECF No. 133 at 14-18. Although DPS does not

frame its argument as such, this is really an argument about redressability, not causation.

This argument is also misplaced.

       The redressability requirement of standing is met when a judgment will likely

redress the plaintiff’s injury. Lujan, 504 U.S. at 561. A plaintiff “need not show that a

favorable decision will relieve their every injury,” only that they “personally would benefit

in a tangible way from the court’s intervention.” Sierra Club v. U.S. Dep’t of the Interior,

899 F.3d 260, 284-85 (4th Cir. 2018) (some internal punctuation omitted) (first quoting

Larson v. Valente, 456 U.S. 228, 242-44 & n.15 (1982); and then quoting Friends of the



                                             14


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 16 of 24
Earth, 204 F.3d at 162). It is enough that the court can mitigate, even if not eliminate, the

injury. Sierra Club, 899 F.3d at 285 (“The removal of even one obstacle to the exercise of

one’s rights, even if other barriers remain, is sufficient to show redressability.”); Sanchez

v. R.G.L., 761 F.3d 495, 506 (5th Cir. 2014) (“When establishing redressability a plaintiff

need only show that a favorable ruling could potentially lessen its injury; it need not

definitively demonstrate that a victory would completely remedy the harm.” (citation

omitted)).

       It is sufficient that a judgment would provide at least partial relief. Bostic, 760 F.3d

at 371 (holding a court order enjoining clerk and registrar of vital records from enforcing

the law would redress plaintiffs’ injuries). Thus, a judgment against a state government

defendant implementing a policy created by a different branch or agency of the state

government satisfies the requirement, even where the defendant lacks authority to

voluntarily correct the underlying violation of law. ECF No. 45 at 9 (concluding that

although only State Defendants can “formally lift the Exclusion,” an order awarding

damages to plaintiffs would redress their injuries); see also, e.g., Baten, 967 F.3d at 353

(“[I]t is within the judicial power to enjoin the use of an unlawful system, even though a

court could not order South Carolina specifically to adopt the proportional system of

appointing Electors, as the plaintiffs might prefer.”) (emphasis added); Bostic, 760 F.3d at

371; Wolfson v. Brammer, 616 F.3d 1045, 1056-57 (9th Cir. 2010) (rejecting argument, in

suit seeking injunction against officials charged with enforcing judicial ethics codes issued

by state supreme court, that plaintiff lacks standing because they “cannot obtain revision



                                              15


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 17 of 24
of the Code from these defendants,” since they “may nevertheless obtain a form of effective

redress in this action”). A defendant’s inability to change a policy underlying the injury it

is causing by effectuating the policy is immaterial once the redressability requirement is

met.

        So here, Sgt. Caraway has established redressability because she “personally would

benefit in a tangible way from the court’s intervention.” Sierra Club, 899 F.3d at 284

(emphasis added). Sgt. Caraway seeks an award of monetary damages to compensate her

for her out-of-pocket expenses spent on uncovered medical care and for her emotional

distress. First Am. Compl. 46, ECF No. 75. An award of damages would allow Sgt.

Caraway to obtain the medical care Defendants have refused to cover and make her whole

from past discrimination. See ECF No. 45 at 9-10. It is well within this Court’s power to

order DPS to pay Sgt. Caraway damages, and DPS does not argue otherwise. 42 U.S.C. §

2000e-5(g) (back pay); 42 U.S.C. § 1981a (compensatory damages).

        Moreover, an injunction forbidding DPS from offering Sgt. Caraway a

discriminatory health plan would end its discrimination against her, thus providing a form

of redress for the harm she experiences from sex discrimination—regardless of any state

law that, absent the injunction, would compel DPS to discriminate. See e.g., Baten, 967

F.3d at 353; Bostic, 760 F.3d at 371; Wolfson, 616 F.3d at 1056-57; cf. Green, 391 U.S. at

432-35 (agencies not permitted to follow illegal state statutes).

        DPS’s reliance on Okpalobi v. Foster, 244 F.3d 405, 426-427 (5th Cir. 2001), is

misplaced. There, the Fifth Circuit concluded plaintiffs lacked standing to sue Louisiana’s



                                             16


       Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 18 of 24
attorney general and governor over a statute creating a private right of action because the

defendants were not charged with enforcing the statute, nor could they prevent private

parties from bringing suit. Id. Here, as detailed above, DPS offers the Plan to Sgt. Caraway

and participates in providing it to her, and accordingly an injunction or award of damages

against DPS will redress her injuries.

       C.      DPS’s merits argument is unavailing because DPS caused Sgt. Caraway’s
               injury.

       DPS additionally argues it should be awarded summary judgment on the merits of

Sgt. Caraway’s Title VII claim because it has not caused her injury. This argument fails

for the same reasons that it does as a standing argument. By offering the Plan, and

providing it together with NCSHP, DPS did cause Sgt. Caraway’s injury. See supra at 11.

       “When it comes to Title VII, the adoption of the traditional but-for causation

standard means a defendant cannot avoid liability just by citing some other factor that

contributed to its challenged employment decision. So long as the plaintiff’s sex was one

but-for cause of that decision, that is enough to trigger the law.” Bostock v. Clayton Cty.,

140 S. Ct. 1731, 1739 (2020) (“This can be a sweeping standard. Often, events have

multiple but-for causes. So, for example, if a car accident occurred both because the

defendant ran a red light and because the plaintiff failed to signal his turn at the intersection,

we might call each a but-for cause of the collision.”).

       Here, DPS does not contest whether sex is the but-for cause of Sgt. Caraway’s

injury. See ECF No. 133 at 8. Rather, it argues it did not cause Sgt. Caraway’s injury




                                               17


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 19 of 24
because it did not do anything to adopt the Plan’s terms, and because it had no choice but

to cause Sgt. Caraway’s injury, because that is what state law requires. Id. at 21-22.

       DPS’s argument fails because, even if true, it does not negate all of the acts DPS

does undertake in offering the Plan to its employees and participating in making it available

to them, from verifying eligibility to funding the Plan to making paycheck deductions to

answering employee questions. See supra at 2. All of these are necessary for the Plan to

be provided to DPS employees, including Sgt. Caraway, and thus are a but-for cause of her

injury. The fact that NCSHP wrote the Plan terms, and the argument that state law prohibits

DPS from offering Sgt. Caraway anything different, are both at most additional but-for

causes—which themselves may also “trigger the law,” but do not leave DPS free of the

obligation to comply with it.

       Defendants’ argument that it is “not viable” to offer supplemental coverage

similarly fails as a matter of law. It is long settled that a government employer cannot

evade Title VII “liability on the ground that he could not find a third party willing to treat

his employees on a nondiscriminatory basis . . . .” Norris, 463 U.S. at 1090. There is no

exception in the plain text of Title VII for employers to argue they do not need to comply

with the law because they are constrained to offer only discriminatory benefits.

IV.    Conclusion

       For the foregoing reasons, this Court should deny DPS’ motion for summary

judgment, and instead grant summary judgment to Sgt. Caraway.




                                             18


      Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 20 of 24
Dated: December 30, 2021                       Respectfully submitted,
/s/ Amy E. Richardson                          /s/ Tara L. Borelli               .
Amy E. Richardson                              Tara L. Borelli
N.C. State Bar No. 28768                       Carl S. Charles*
Lauren E. Snyder                               LAMBDA LEGAL DEFENSE AND
N.C. State Bar No. 54150                       EDUCATION FUND, INC.
HARRIS WILTSHIRE & GRANNIS LLP                 1 West Court Square, Ste. 105
1033 Wade Avenue, Suite 100                    Decatur, GA 30030
Raleigh, NC 27605-1155                         Telephone: 404-897-1880
Phone: 919-429-7386 | Fax: 202-730-1301        Facsimile: 404-506-9320
arichardson@hwglaw.com                         tborelli@lambdalegal.org

Deepika H. Ravi*                               Omar Gonzalez-Pagan*
Grace H. Wynn*                                 LAMBDA LEGAL DEFENSE AND
HARRIS WILTSHIRE & GRANNIS LLP                 EDUCATION FUND, INC.
1919 M Street N.W., 8th Floor,                 120 Wall Street, 19th Floor
Washington, D.C. 20036                         New York, NY 10005
Phone: 202-730-1300 | Fax: 202-730-1301        Telephone: 212-809-8585
dravi@hwglaw.com                               Facsimile: 212-809-0055
                                               ogonzalez-pagan@lambdalegal.org
Michael W. Weaver*
Adam M. Safer*                                 David Brown*
MCDERMOTT WILL & EMERY                         Ezra Cukor*
444 W. Lake St., Suite 4000                    TRANSGENDER LEGAL DEFENSE AND
Chicago, IL 60606                              EDUCATION FUND, INC.
Phone: 312-984-5820 | Fax: 312-984-7700        520 8th Ave, Ste. 2204
mweaver@mwe.com                                New York, NY 10018
                                               Telephone: 646-993-1680
Dmitriy G. Tishyevich*                         Facsimile: 646-993-1686
Warren Haskel*                                 dbrown@transgenderlegal.org
MCDERMOTT WILL & EMERY
One Vanderbilt Avenue
New York, NY 10017-3852
Phone: 212-547-5534 | Fax: 646-417-7668
dtishyevich@mwe.com

Lauren H. Evans*
MCDERMOTT WILL & EMERY
500 North Capitol Street, N.W.
Washington, D.C. 20001-1531
Phone: 202-756-8864 | Fax: 202-591-2900


                                          19


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 21 of 24
 levans@mwe.com
                                 Counsel for Plaintiffs
* Appearing by special appearance pursuant to L.R. 83.1(d).




                                          20


    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 22 of 24
                         CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing brief is in compliance with Local Rule 7.3(d)(1)

because the body of this brief, including headings and footnotes, does not exceed 6,250

words as indicated by Microsoft Word, the program used to prepare this document.

 Dated: December 30, 2021                /s/ Amy E. Richardson
                                         Amy E. Richardson
                                         N.C. State Bar No. 28768
                                         HARRIS, WILTSHIRE & GRANNIS LLP
                                         1033 Wade Avenue, Suite 100
                                         Raleigh, NC 27605-1155
                                         Phone: 919-429-7386
                                         Fax: 202-730-1301
                                         arichardson@hwglaw.com




    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 23 of 24
                            CERTIFICATE OF SERVICE
       I certify that the foregoing document was filed electronically with the Clerk of

Court using the CM/ECF system which will send notification of such filing to all

registered users.

Dated: December 30, 2021                  /s/ Amy E. Richardson
                                          Amy E. Richardson
                                          N.C. State Bar No. 28768
                                          HARRIS, WILTSHIRE & GRANNIS LLP
                                          1033 Wade Avenue, Suite 100
                                          Raleigh, NC 27605-1155
                                          Phone: 919-429-7386
                                          Fax: 202-730-1301
                                          arichardson@hwglaw.com




    Case 1:19-cv-00272-LCB-LPA Document 187 Filed 12/30/21 Page 24 of 24
